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              24-1436 (L)
              Wilder v. Hoiland

                                            UNITED STATES COURT OF APPEALS
                                                FOR THE SECOND CIRCUIT

                                                        SUMMARY ORDER

              RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO A
              SUMMARY ORDER FILED ON OR AFTER JANUARY 1, 2007, IS PERMITTED AND IS GOVERNED BY
              FEDERAL RULE OF APPELLATE PROCEDURE 32.1 AND THIS COURT’S LOCAL RULE 32.1.1.
              WHEN CITING A SUMMARY ORDER IN A DOCUMENT FILED WITH THIS COURT, A PARTY MUST
              CITE EITHER THE FEDERAL APPENDIX OR AN ELECTRONIC DATABASE (WITH THE NOTATION
              “SUMMARY ORDER”). A PARTY CITING A SUMMARY ORDER MUST SERVE A COPY OF IT ON
              ANY PARTY NOT REPRESENTED BY COUNSEL.

                      At a stated term of the United States Court of Appeals for the Second Circuit, held at the
              Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
              12th day of March, two thousand twenty-five.

              Present:
                          DEBRA ANN LIVINGSTON,
                                 Chief Judge,
                          JOSÉ A. CABRANES,
                          WILLIAM J. NARDINI,
                                 Circuit Judges.
              _____________________________________

              ESTHER WILDER,

                                         Plaintiff-Appellant-Cross-Appellee,

                                  v.                                               24-1436 (L)
                                                                                   24-1567 (XAP)
              SARAH HOILAND,

                              Defendant-Appellee-Cross-Appellant.
              ____________________________________
               For Plaintiff-Appellant-Cross-Appellee:                MATTHEW HERSH, Mestaz Law, Phoenix, AZ.

               For Defendant-Appellee-Cross-Appellant:                GUY COHEN and Danielle C.            Zolot,
                                                                      Davis+Gilbert LLP, New York, NY.


                        Appeal from a judgment and order of the United States District Court for the Southern

              District of New York (Castel, J.).
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                        UPON DUE CONSIDERATION, IT IS HEREBY ORDERED, ADJUDGED, AND

              DECREED that the judgment and order of the district court are AFFIRMED.

                        Esther Wilder (“Wilder”), a faculty member at Lehman College of The City University of

              New York (“CUNY”), commenced this action alleging that Sarah Hoiland (“Hoiland”), a faculty

              member at CUNY’s Hostos Community College, infringed her copyright during a presentation

              Hoiland made at an academic conference in February 2019. The parties filed cross-motions for

              summary judgment. The district court granted summary judgment to Hoiland on her affirmative

              defense of fair use. In a separate order, the district court then denied Wilder’s Rule 59(e) motion

              seeking to alter or amend the judgment and denied Hoiland’s motion for attorney’s fees and costs.

              On appeal, Wilder contends that the district court erred in granting summary judgment in favor of

              Hoiland and denying her Rule 59(e) motion. Hoiland cross-appeals, arguing that the district court

              abused its discretion in denying her motion for attorney’s fees. 1                         We assume the parties’

              familiarity with the underlying facts, the procedural history of the case, and the issues on appeal

              to which we refer only as necessary to explain our decision to AFFIRM.

                  I.        Summary Judgment

                        “We review without deference the district court’s grant of summary judgment when, as

              here, the parties filed cross-motions for summary judgment and the district court granted one

              motion but denied the other.” Hachette Book Grp., Inc. v. Internet Archive, 115 F.4th 163, 177



                         1
                           Wilder has moved to strike portions of Hoiland’s briefs related to this cross-appeal. The first motion, to
              strike a reference to the Civil Appeals Mediation Program (“CAMP”) proceedings made in Hoiland’s opening brief,
              is GRANTED. See Local Rule 33.1(e) (“Information shared during a CAMP proceeding is confidential and is not
              included in court files or disclosed to the judges of this court . . . . The attorneys and other participants are prohibited
              from disclosing what is said in a CAMP proceeding[.]”). The second, which challenges portions of Hoiland’s cross-
              appeal reply brief as an improper sur-reply, is DENIED. Federal Rule of Appellate Procedure 28.1(c)(4) limits a
              cross-appeal reply brief “to the issues presented by the cross-appeal.” But any references Hoiland makes to the merits
              of Wilder’s appeal clearly address whether Wilder’s copyright infringement claim is objectively unreasonable, which
              is a critical issue on Hoiland’s cross-appeal of the district court’s denial of her fees motion. See Kirtsaeng v. John
              Wiley & Sons, Inc., 579 U.S. 197, 202 (2016).

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              (2d Cir. 2024) (quoting Loomis v. ACE Am. Ins. Co., 91 F.4th 565, 572 (2d Cir. 2024)). Summary

              judgment is proper only when “there is no genuine dispute as to any material fact and the movant

              is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Although fair use “presents a

              mixed question of law and fact, it may be resolved on summary judgment where, as here, the

              material facts are not in dispute.” Andy Warhol Found. for Visual Arts, Inc. v. Goldsmith, 11 F.4th

              26, 36 (2d Cir. 2021), aff’d, 598 U.S. 508 (2023).

                        Section 107 of the Copyright Act permits unauthorized use or reproduction of copyrighted

              works “for purposes such as criticism, comment, news reporting, teaching . . ., scholarship, or

              research.” 17 U.S.C. § 107. The statutory framework provides four nonexclusive factors courts

              should consider when deciding if a particular use is “fair”:

                        (1) the purpose and character of the use, including whether such use is of a
                            commercial nature or is for nonprofit educational purposes;

                        (2) the nature of the copyrighted work;

                        (3) the amount and substantiality of the portion used in relation to the copyrighted
                            work as a whole; and

                        (4) the effect of the use upon the potential market for or value of the copyrighted
                            work.

              Id. “Given the diverse array of copyrightable material, fair use is a ‘flexible’ concept, whose

              application varies depending on the context.” Hachette, 115 F.4th at 179 (quoting Google LLC

              v. Oracle Am., Inc., 593 U.S. 1, 20 (2021)).

                        Wilder challenges the district court’s determination that Hoiland’s use of text Wilder wrote

              (“Unit 7H”) for a faculty development course on quantitative reasoning constitutes fair use. For

              the reasons stated below, we agree with the district court.

                        The first fair use factor—the purpose and character of the allegedly infringing work—

              requires us to “consider two sub-factors: (i) the extent to which the secondary use is transformative

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              and (ii) whether the secondary use is commercial in nature.” Id. Transformativeness is “whether

              the new work merely supplants the original, ‘or instead adds something new, with a further purpose

              or different character, altering the [original] with new expression, meaning, or message.’” Id.

              (quoting Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 579 (1994)). As to commerciality,

              “[t]he crux of the profit/nonprofit distinction is . . . whether the user stands to profit from

              exploitation of the copyrighted material without paying the customary price.” Harper & Row

              Publishers, Inc. v. Nation Enterprises, 471 U.S. 539, 562 (1985).

                        Here, the purpose and character of Hoiland’s use of the Unit 7H text was distinctly different

              from Wilder’s original intent and purpose in creating the material. According to Wilder, she

              wrote Unit 7H as a subunit within a faculty development course she designed to improve teachers’

              ability to teach quantitative reasoning. Unit 7H in particular was meant to “provide[] instructions

              to faculty on preparing a [quantitative reasoning] assessment plan and instrument in accordance

              with the[ir] articulated learning goals.” Joint App’x 48. Hoiland, who served as the co-director

              of the faculty development program Wilder designed, later used portions of the Unit 7H text as a

              visual aid during a breakout presentation to 12 to 20 attendees at a community college conference.

              Her presentation’s purpose was to “disseminate assessment results of [the] . . . faculty

              development program,” “discuss the challenges and successes related to assessment in the

              community college context,” and “share best practices in faculty development related to

              assessment.” Joint App’x 405. Hoiland testified that her audience was “not interested in the

              particularities of the . . . program” but instead asked about best practices for working with four-

              year institutions and how faculty participants in the program were recruited and compensated.

              Joint App’x 210. In short, Wilder’s purpose in creating Unit 7H was to teach faculty in a formal

              course how to create individualized assessment tools to evaluate their teaching whereas Hoiland’s


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              use was to comment on the successes and failures of the program and educate those interested in

              setting up similar initiatives. We agree with the district court that Hoiland’s use was sufficiently

              transformative and even among the “[p]aradigmatic examples of transformative use[]”

              contemplated by the Copyright Act’s preamble.                      Hachette, 115 F.4th at 180 (noting that

              paradigmatic examples of transformative use include, inter alia, comment, teaching, and

              scholarship). 2

                            In assessing the second fair use factor—the nature of the copyrighted work—we give

              “greater leeway . . . to a claim of fair use where the work is factual or informational” as opposed

              to “expressive or creative.” Hachette, 115 F.4th at 187 (internal quotation marks and citation

              omitted). Wilder does not dispute that Unit 7H is factual and informational.

                        The third fair use factor asks courts to consider “the amount and substantiality of the

              portion used in relation to the copyrighted work as a whole,” 17 U.S.C. § 107(3), with a finding of

              fair use more likely when “small amounts, or less important passages [of the work] are copied,”

              Hachette, 115 F.4th at 187 (quoting Authors Guild v. Google, Inc., 804 F.3d 202, 221 (2d Cir.

              2015)). The district court concluded that this factor tipped slightly in favor of Wilder because

              Hoiland made use of two-thirds of the Unit 7H text which, while not the heart of the copyrighted

              work, nonetheless constituted a substantial portion of the material.

                        As a preliminary matter, we question whether Unit 7H is the appropriate denominator

              against which to measure Hoiland’s use. Unit 7H is a subunit of one of eight units comprising a

              cohesive course curriculum on quantitative reasoning. In NXIVM Corp. v. Ross Institute, we




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                         Hoiland’s use was also non-commercial, educational, and benefitted the public interest. Although we
              have said that in the academic context, “profit is ill-measured in dollars,” Weissmann v. Freeman, 868 F.2d 1313,
              1324 (2d Cir. 1989), we agree with the district court’s conclusion that there is little record evidence to suggest that
              Hoiland received or stood to receive professional advancement from her presentation.

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              rejected plaintiffs’ attempt to “narrow the denominator . . . by conceptualizing [a] single course

              manual as separate ‘modules.’” 364 F.3d 471, 480–81 (2d Cir. 2004). We said that allowing

              such gamesmanship would make the third fair use factor “depend ultimately on a plaintiff’s

              cleverness in obtaining copyright protection for the smallest possible unit of what would otherwise

              be a series of such units intended as a unitary work.” Id. at 481. Wilder, who claims to have

              “developed and created most of the instructional material” in the program herself, Joint App’x 47,

              seems to have intended the course material as a unitary work and—eight years later—registered a

              copyright over a single subunit to facilitate this suit against Hoiland. The record does not specify

              exactly what portion or percentage of the course came from Wilder’s pen. But even assuming as

              Wilder argues that Unit 7H is the proper denominator, we would agree with the district court that

              the third factor at best weighs slightly in favor of Wilder and is not enough to overcome a finding

              of fair use.

                        In assessing the fourth fair use factor—market effect—we “focus[] on whether the copy

              brings to the marketplace a competing substitute for the original, or its derivative, so as to deprive

              the rights holder of significant revenues because of the likelihood that potential purchasers may

              opt to acquire the copy [rather than] the original.” Hachette, 115 F.4th at 189 (quoting Authors

              Guild, 804 F.3d at 223). When cases arise out of copyright disputes in academia, courts must

              consider not only the financial market for the work but also “the realities of promotion and tenure

              in an academic setting” and how a secondary use may damage the original author’s academic

              career. See Weissmann, 868 F.2d at 1326. We agree with the district court’s analysis—which

              properly considered the academic context of this case—concluding that the potential market for

              Unit 7H is limited, and that Hoiland’s one-time use does not prevent Wilder from capitalizing on

              whatever market may exist.


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                        In sum, the district court did not err in concluding that Hoiland was entitled to summary

              judgment on her fair use affirmative defense. Because we affirm the district court’s fair use

              holding, we do not consider the parties’ other arguments regarding summary judgment. 3

                  II.       Attorney’s Fees

                        We review a “district court’s denial of an application for attorney’s fees . . . for abuse of

              discretion.” Scarangella v. Grp. Health, Inc., 731 F.3d 146, 151 (2d Cir. 2013). Hoiland

              contends that the district court abused its discretion in denying her motion for fees both because it

              failed adequately to explain the reasons for denial and because the facts of this case warrant a fee

              award as a matter of law. We disagree as to both.

                        Section 505 of the Copyright Act provides that the district court “may . . . award a

              reasonable attorney's fee to the prevailing party” in a copyright infringement action. 17 U.S.C.

              § 505. Although the word “may” in § 505 “clearly connotes discretion” in determining whether

              to award fees to a prevailing party, Fogerty v. Fantasy, Inc., 510 U.S. 517, 533 (1994), that

              discretion is not without limit. “First, a district court may not award attorney’s fees as a matter

              of course; rather, a court must make a more particularized, case-by-case assessment.” Kirtsaeng,

              579 U.S. at 202 (internal quotation marks, alteration, and citation omitted). “Second, a court may

              not treat prevailing plaintiffs and prevailing defendants any differently[.]” Id. Third, “several

              nonexclusive factors” may inform the district court’s analysis, including “frivolousness,

              motivation, objective unreasonableness and the need in particular circumstances to advance

              considerations of compensation and deterrence.” Id. (internal quotation marks omitted)

              (quoting Fogerty, 510 U.S. at 534 n.19).


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                         Additionally, because Wilder did not raise new controlling decisions or evidence in her Rule 59(e) motion
              and the district court did not err in the underlying decision, we conclude that its decision to deny that motion was not
              an abuse of discretion. See Munafo v. Metro. Transp. Auth., 381 F.3d 99, 105 (2d Cir. 2004).

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                        The district court did not abuse its discretion in denying fees. Although this case was

              ultimately not a close one, Wilder’s position was not so speculative or remote as to be properly

              labeled frivolous or objectively unreasonable. Hoiland’s presentation reproduced portions of

              Wilder’s copyrighted work essentially verbatim without giving written credit.              And while

              Hoiland’s use was plainly fair, Wilder’s arguments that this constitutes infringement at least in the

              academic setting were not “clearly without merit or otherwise patently devoid of legal or factual

              basis.” Chivalry Film Prods. v. NBC Universal, Inc., No. 05-CV-5627, 2007 WL 4190793, at *2

              (S.D.N.Y. Nov. 27, 2007) (Lynch, J.) (internal quotation marks omitted). And because Wilder’s

              claims were not objectively unreasonable or frivolous, a fee award is also not necessary to deter

              others from bringing such claims in the future. Moreover, Hoiland points to little in the record

              beyond the sort of contentious pre-litigation correspondence typical of parties engaged in the lead-

              up to a copyright suit to support her claim of bad faith. Cf. Zuma Press, Inc. v. Getty Images (US),

              Inc., 845 F. App’x 54, 60 (2d Cir. 2021) (summary order) (affirming district court’s denial of fees

              because, inter alia, there was no indication in the record of improper motive beyond an “assertion

              that Plaintiffs’ claims were motivated by the prospect of unjustified statutory damages”). We thus

              cannot say the district court abused its discretion in denying Hoiland’s fee award.

                        We also reject Hoiland’s contention that remand is warranted because the district court

              failed adequately to explain its decision. We have said that “[a] recitation of the applicable factors

              or legal standard, standing alone, is normally not sufficient to permit appropriate appellate review.”

              Orchano v. Advanced Recovery, Inc., 107 F.3d 94, 99 (2d Cir. 1997). But here the district court

              cited and discussed multiple decisions to illustrate the types of copyright cases that normally

              warrant fee awards. Even assuming, as Hoiland argues, that the district court should have

              provided a more detailed account of how it applied the facts of this case to the factors it considered,


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              “we need not remand for further explanation where the reasons for a district court’s decision are

              clear” as is the case here. See Zuma Press, 845 F. App’x at 59 (citing Orchano, 107 F.3d at 99).

              We are therefore satisfied that the district court undertook the “particularized, case-by-case

              assessment” required. Kirtsaeng, 579 U.S. at 202.

                                                        *     *      *

                        We have considered the parties’ remaining arguments and conclude that they are without

              merit. For the foregoing reasons, the judgment and order of the district court are AFFIRMED.



                                                            FOR THE COURT:
                                                            Catherine O’Hagan Wolfe, Clerk




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